STATEMENT BY THE COURT.
This appeal is prosecuted from a decree refusing to enjoin the board of trustees of the Arkansas Negro Tuberculosis Sanatorium from proceeding with the construction of a sanatorium on a site in Saline County, Arkansas, adjoining lands owned and occupied by one of appellants, Miss Frances Mitchell, and within a short *Page 789 
distance of lands owned by the other appellants, but distant from a quarter to one-third of a mile from any residence.
It was alleged that the selection by the board of the site in Saline County for a sanatorium was arbitrarily made and without authority of law, in disregard of the act of the Legislature providing therefor, 4 of act 113 of the Acts of 1923 being set out as follows: "As soon after the organization of said board as practicable, said board shall select a suitable site for the establishment of a tuberculosis sanatorium for negroes, and in selecting said site they shall place institution at such point in the State as shall appear to them to be more nearly in the center of the negro population of said State." That great and irreparable damage would result to appellants from the construction of such sanatorium, for which there was no adequate remedy at law, and that such irreparable damage and injury would result, not only to appellants and to their lands, but to numerous other property owners and taxpayers in that county.
The answer denied that the selection of the site was arbitrarily made and not in accordance with the authority given, averred that it was the best site the board could find, and appeared to them to be more nearly in the center of the negro population, accessibility and suitability being considered; that the location was excellent in every way, and that after the site had been selected the General Assembly of the State, by act 277 of 1927, approved such location by making an appropriation for the erection of buildings "on the land heretofore acquired for the purpose of a negro tuberculosis sanatorium."
The board, according to the testimony of Hon. Peter Deisch, chairman, only examined proposed sites in Pulaski and Saline counties before making the selection, regarding the accessibility of the central location to all the negro population, inhabiting chiefly the eastern, southern and southwestern parts of the State, as a *Page 790 
principal factor in determining its suitability as a site for the establishment of the sanatorium, rather than the location of the sanatorium in fact at or near the geographical center of the negro population of the State. The other factors determining the selection were an adequate Supply of good water, the location of the gas mains carrying natural gas from the fields in Union County through the lands, the high tension electric power lines over them, and good railroad facilities hard by.
The mayor of Alexander, a small town about a mile from the site selected, was consulted by a member of the board before its selection, and thought there would be no objection to its location there. There is a petition in the transcript containing the names of about 100 citizens in the neighborhood requesting the board to build on the site selected. There are two white families and about seven negro families in the immediate vicinity of the site, according to Dr. Ward, who, with five other witnesses residing at or near Alexander, testified that the location of the sanatorium would enhance the value of property.
The testimony on behalf of the appellants tended to show that the value of their lands would be reduced and damaged to the extent of 50 per cent. by the construction of the sanatorium. It also reflected the opinion of the witnesses relative to the menace and danger to the inhabitants of the adjoining lands from the location and treatment of tubercular patients in the sanatorium, and the fear entertained by all inhabitants for the health of the community on account of it.
Dr. John Stewart testified that he had been superintendent of the Arkansas Tuberculosis Sanatorium at Booneville for 15 years; had had 21 years' experience in such sanatoriums, and that the value of the property around the institution there had increased since its location. The farmers have been benefited because they regard it a health center, and are taught how to live, and supply the institution with the produce of their *Page 791 
farms. Booneville gave bonus to get the institution there; "that it is utterly impossible for people on farms around the hospital to contract tuberculosis from the patients; that the patients are not permitted to roam the woods, but, even if they should do so, it would be of no effect, because tuberculosis is a house disease; that sunlight and air kill germs, and, even if patients should expectorate in the woods and the leaves should wash into the creek, it would have no effect upon the cows that drank the water; that in all his experience in the treatment of tuberculosis he had never known a physician or a nurse or attendant to contract the disease from a patient." Witness said that Dr. Kenneth of New York, an international authority on tuberculosis, made a survey to ascertain, several years ago, how many people had contracted tuberculosis from working in well regulated Sanatoriums, and found no single case reported, even among janitors or nurses or any one that worked with the patients. Witness was Superintendent of a Sanatorium at Mt. Vernon, Missouri, for three and one-half years, a town of 1,500 inhabitants. The institution was located about a quarter of a mile from the town. He did not know of any one leaving town on account of it, but knew of people coming there. Had been connected with Mt. St. Rose Sanatorium in St. Louis, right in the city. Had been connected with sanatoriums where they cared for negro patients, and the same rules applied to negroes as to whites. There is no more danger of contracting the disease from a negro patient than a white patient. Had heard the testimony of witnesses for appellants, and from his 21 years experience could not see how the sanatorium would endanger or be a menace to any one living around or about the sanatorium, and believed it would be a benefit to the land values. Discussed the method of sewage disposal by septic tanks at Booneville, from which it runs into the nearby branches, and said the water had had no effect on cows drinking it. Described the three sources of contracting tuberculosis, and did not think any of the three ways in *Page 792 
which it could be contracted would in any way affects the health of persons living near the location of the Sanatorium, as did the appellants. Said "it would be impossible to contract tuberculosis out-of-doors."
Dr. J. A. Price, superintendent of the Oakville Sanatorium, owned by Memphis and Shelby County, Tennessee, testified he had been connected with that institution for seven years, and prior to that time with a sanatorium at Fort Wayne, Indiana. The Memphis institution is for both whites and negroes, situated in a little suburb of Memphis. Nice homes are around the sanatorium property, and since its location values have increased, in some instances have trebled. While there was some objection to its location at first, no one moved away on account of it, and the people are now satisfied, and would object to its being moved. "I have heard the witnesses testify regarding the proposed location of the hospital here," he said, "and from my experience the health of the people on this other property would not be endangered by the location of the sanatorium." He did not think there would be anything connected with the institution that would diminish the value of Miss Mitchell's property.
Dr. M. Z. Bair, sanitary engineer for the State Board of Health, testified that he had been in the business for 19 years, and he advised with the board in regard to the selection of the site for the sanatorium. One of the principal considerations was the availability of water, the other drainage, and the disposition of sewage. He found the topographic conditions were such that adequate drainage could be provided with facilities for building a plant of such character "as to unquestionably protect the watercourse against any contamination; * * * that after the sewage has been treated the water in the creek will not be polluted."
Miss Erle Chambers, a member of the board and executive secretary of the Arkansas Tuberculosis Association, testified that she had visited many tuberculosis sanatoriums during the last 12 years in New York, *Page 793 
Minnesota, Tennessee, Alabama, and recently in Europe, to find out how they were located and to obtain all possible information regarding the buildings and management. Many of the institutions were located in the cities. Pulaski County has a negro tuberculosis ward in the county hospital, distant from which witness lives only about five blocks. Stated, in addition to the other considerations mentioned before by the chairman of the board, that there were good negro hospitals in Little Rock, from which they could procure qualified nurses for the patients, and also mentioned the easy accessibility of the site to all the colored population of the State. She road several letters of managers and superintendents of sanatoriums in Virginia, Atlanta, Georgia, for whites and negroes, Mississippi, Nashville, Tennessee, and in North Carolina, stating generally that there had been no evidence of depreciation of the values of property adjacent to the institutions. That, although there might have been objection to the establishment of these institutions at first, it readily disappeared. That in fact property values were found to increase instead of decrease in proximity to the institutions.
Dr. McBrayer, managing director, Southern Pines, N.C., said: "It is not only our experience, but it is the experience of everybody connected with sanatoriums, that property values increase around the sanatorium. * * * With a properly conducted sanatorium there is no danger or inconvenience to any one, and this is well recognized at this time."
The chancellor held that the lands selected are not near the center of the negro population of the State, and that in making said selection the board did not conform to the requirements of the act authorizing it, but exceeded the discretion conferred upon them thereby. He held, however, that the Legislature had, by its appropriation for the buildings, under act 277 of 1927, approved the selection of the site made by the board, and denied the injunction, and dismissed the complaint for want of equity. *Page 794 
(after stating the facts). Under 4 of act 113 of 1923 the board was given authority and had the discretion to select a suitable site for the establishment of a tuberculosis sanatorium for negroes, and were directed in making such selection to locate the institution at such point in the State "as shall appear to them" to be more nearly in the center of the negro population of the State. They made this selection for the site of lands in Saline County that they regarded most suitable as a site for the establishment of the sanatorium, regarding it as a compliance with the statute because of its accessibility. There is no intimation that the site is not most suitable for the location of such sanatorium, as the evidence shows it to be, nor any suggestion made that one more suitable could be found elsewhere in the State, but only an insistence that the statute was violated by the board in not selecting lands for the site more nearly in the actual geographical center of the negro population of the State.
The statute is only directory in its terms, leaving the board the discretion to place the institution at such point in the State "as shall appear to them," etc. There is not a scintilla of testimony indicating bad faith on the part of the board in the selection of the site as made, and the General Assembly, under act 277 of 1927, knowing of the selection under the authority given the board for the purpose, made an appropriation of moneys for the erection of the necessary buildings and improvements "on the lands heretofore acquired for the purpose of a negro tuberculosis sanatorium." This was an approval by the Legislature of the selection of the site for the sanatorium by the authorized agency of the State, amounting to a ratification thereof, even if any such ratification had been necessary, and the chancellor did not err in so holding. *Page 795 
The argument is without force therefore — the Legislature having decided that question — that the establishment of a negro tuberculosis sanatorium in a county containing so small a negro population and inhabited almost entirely by white people is a departure from the State's policy of the segregation of the races, since that is a matter with which the court is not concerned, the policy of legislation and its expediency being questions peculiarly within the province of the lawmaking power. Scalles v. State, 47 Ark. 476, 1 S.W. 769, 58 Am. Rep. 768; State v. Bain, 172 Ark. 480, 289 S.W. 384; Cone v. Garner,175 Ark. 860, 3 S.W.2d 1.
In modern times a sanatorium is not only considered a beneficent institution, but a public necessity, and certainly its establishment cannot be regarded a nuisance per se. The chancellor did not find that its establishment and operation would cause irreparable injury to the appellants, and, at best, the testimony conduced to show that any injury to the market value of the land would be only temporary, and not irreparable, not furnishing sufficient grounds for equitable relief. Gus Blass Co. v. Reinman, 102 Ark. 294, 143 S.W. 1087; 2 Story's Eq. Juris., 926; Joyce on Nuisances, 427; Wood on Nuisances, 778; McDaniel v. Forest Park Cemetery Assn.,156 Ark. 571, 246 S.W. 874. For cases in other jurisdictions denying injunctive relief against the maintenance of hospitals see Jardine v. Pasadena, 196 Cal. 64,248 P. 225, 48 A.L.R. 509; San Diego Tuberculosis Assn. v. East San Diego, 186 Cal. 252, 200 P. 393, 17 A.L.R. 513; Tompson v. Evangelical Hospital Assn.,111 Neb. 191, 196 N.W. 117, 32 A.L.R. 721; Cook v. Fall River, 239 Mass. 90, 131 N.E. 346, 18 A.L.R. 119; Northfield v. Board of Chosen Freeholders of Atlantic County,85 N.J. Eq. 47, 95 A. 748; Board of Health v. North American Home, 77 N.J. Eq., 78 A. 677; LeBourgeoise v. New Orleans, 145 La. 274, 82 So. 268.
We find no error in the record, and the decree is affirmed. *Page 796 